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NOTECE Of A`|TE|\/`lPT AT SE`ITLEMENT

701 South Du|uth Avenue
Sioux Fa||s, S.D.

i\lotice to al| agents: A motion to dismiss the majority of claimants in the current action was amended
per Erratica and filed with the court, and was served these named defendants on 7/4/]8. We the
claimants propose that ali currently named parties about to be dismissed from this current action, settle
prior to its dismissal against those named defendants in that, after dismissing the majority from this
current action (Fed. Case #4:18-€\/-40) claimants intend to tile a new case against the same, naming the
same in their individual and personal capacities in the Federa| District Court, in the Southern District of
lowa. Upon its service upon you, you will each be forced to hire representation at your personal
expense; and that wi||, more than |ike|y, cost you rnore exponentialiy, even in the SHORT term; than
what this settlement letter is suggesting for settlement Shou|d those afore»named defendants be too
stubborn or stupid, and continue regardless, they will be locked into this new case for its duration; this
the claimants guarantee Should the afore~narned defendants somehow manage to win out in this new
action, the claimants will work to discover new ways to bring another action against you. A trial by a
jury of your peers against these individually named and affected defendants would also prove to be
quite embarrassing to them and the State of iowa as we||, and the claimants know for sure that they
would rather keep this out of public view. The claimants will not ask for another attempt to sett|e, so
they suggest you do the right and logical thing NOW, or suffer the obvious consequences

We do not believe that we need to, once again, relate to you what you are each guilty of, since you
know perfectly weil what that is, thanks to us - not that you did n't know it already, but it always helps
to assist the blind and help them see that what they‘ re doing is in fact crimina|; or to ensure that you
don't miss the fact that the majority of We The Peopie consider the actions taken by you; these named
defendants, against these claimants are, in fact, “crimes”; in OUR un-skewed perception of reality.

50 to restate, within the next 24 hours, the claimants W|l_L file a new suit against each and every one of
you in your individual and unofficial ca pacities; and through that case, you will pay for what you have
done out of your own pockets, instead of relying on the State of iowa’s taxpayer money to fund your
defense; and, since this is the case; you will be unable to hide behind your respective fictions; or your
current unlawfully granted immunities This has been fun...but the fun is now over. You have one and
only one chance to make this right to the ciairnants:

1. You will return the living ciaimants' rightful biological property; Triiynn iviarie Brueggeman
immediately and without delay, and restore plaintiff Eiizaheth's unalienable parental rights; for
which you had no legal or lawful right to take from her.

2. You will grant the claimants, as one party consisting of two individuals, from EACH of you, an
amount of $50,000 (this only applies to each of those parties currently being dismissed from this
open action) for pecuniary damages in fact of mental anguish, emotional and mental distress for
a period of as many as 4 years, libel, slander and defamation of our characters; and for stealing
and kidnapping the daughter wrongfu||y; and conspiracy in ali_

3. You Wi|| also completely exonerate the Po|i< County related criminal record of claimant
Christopher (Bruce), the Living i\/ian, post haste.

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Since the soon to be defendant’s damage of the claimants is so extensive, and has run a course
above and beyond a reasonable period of time, claimants only offer to the affected parties this
settlement contingency:

1. That all articles and documents pertaining to this case, and all the claimant’s cases will be
removed from the internet, as weil as from any personal pages that might belong to the
claimants

2. That the claimants will never again return to Within the borders ofthe State of |owa, to include
the remainder oftheir |ives.

3. That they promise to never again speak, write, or reference any of these matters to anyone
again, in the sense of the future, to begin at the agreement to sett|e.

Should you reject this offer and choose to offer another, the plaintiffs will keep the door open for you to
do so at any time, from now until the court grant the new action, and issue the subpoenas concerning
that action. After that time, the claimants will rescind this offer permanently, and this matter will go to
trial, and will be presented to the requested jury. To reject this offer entireiy, whether by official
answer, or by your inaction, the claimants guarantee that you will receive your rightful and due justice,
more than likely at a much higher cost to you personally, and to your reputations This is your one and
ONLY settlement letter.

This letter will be ECF filed with the court in our current case.

Thank you for your time,

 

 

Proof of Service

The undersigned certifies that the foregoing instrument was serv upon each of thij)_ersons identified as
receiving a copy by delivery in the following manner on the day of " , 20ch

E.C.F. filing and Fax.

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